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                           UNITED STATES DISTRICT
                          COURT DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, et al.,                     MOTION TO DISMISS BY DE-
                                                FENDANT JASON
                Plaintiffs,                     MACKRILL

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho, et al.,

                Defendants.




                                                         MOTION TO DISMISS – 1
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      Defendant Jason Mackrill, Power County Prosecuting Attorney, hereby moves

the Court to dismiss Plaintiffs’ Complaint, Dkt. 1, under Federal Rules of Civil Pro-

cedure 12(b)(1) and 12(b)(6). In support of this motion, Mr. Mackrill hereby incorpo-

rates by reference the prior briefing submitted by Defendants in this matter, see Dkts.

42, 85, 107, 127, and proffers the attached Declaration.

      DATED: May 9, 2023.

                                        STATE OF IDAHO
                                        OFFICE OF THE ATTORNEY GENERAL


                                    By:    /s/ Lincoln Davis Wilson
                                            LINCOLN DAVIS WILSON
                                            Chief, Civil Litigation and
                                            Constitutional Defense
                                            BRIAN V. CHURCH
                                            TIMOTHY LONGFIELD
                                            Deputy Attorneys General

                                        Attorneys for Defendant Jason Mackrill




                                                               MOTION TO DISMISS – 2
       Case 1:23-cv-00142-BLW Document 135 Filed 05/09/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 9, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to all counsel of record.



                                            /s/ Lincoln Davis Wilson
                                            LINCOLN DAVIS WILSON
                                            Chief, Civil Litigation and Constitu-
                                            tional Defense




                                                              MOTION TO DISMISS – 3
